
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-2007

                                  ROSEMARY PETRALIA,

                                Plaintiff - Appellant,

                                          v.

                      AT&amp;T GLOBAL INFORMATION SOLUTIONS COMPANY,
                                    ETC., ET AL.,

                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                   [Hon. Steven J. McAuliffe, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                        Bownes and Cyr, Senior Circuit Judges,
                                        _____________________

                             and Keeton,* District Judge.
                                          ______________

                                _____________________

               James A. Fuller for appellant.
               _______________
               John  A. Houlihan, with whom  Edwards &amp; Angell  was on brief
               _________________             ________________
          for appellees.



                                 ____________________

                                    June 12, 1997
                                 ____________________




                              
          ____________________

          *  Of the District of Massachusetts, sitting by designation.














                    KEETON, District Judge.  In this proceeding we conclude
                    KEETON, District Judge
                            ______________

          that  the remand order of  the district court  is not immediately

          appealable as  a final judgment,  and that  the collateral  order

          exception   to  the   final   judgment  rule   does  not   apply.

          Accordingly, we dismiss for lack of appellate jurisdiction.



                                    I.  Background
                                    I.  Background

                    The  case before us  arose from the  termination of the

          short-term  disability  benefits   of  the   Plaintiff-Appellant,

          Rosemary  Petralia,  by  the  Defendants-Appellees,  AT&amp;T  Global

          Information Solutions  Company  ("AT&amp;T"), and  The  Employee  and

          Group Benefit Plan for Account Managers and Sales Representatives

          for the Systemedia Division ("the plan").

                    Plaintiff-Appellant sought review of the termination in

          the district court.  The district court granted summary judgment,

          in  part, in favor of Petralia.  Specifically, the district court

          found  that the termination  notice Defendants-Appellees provided

          to  Petralia did  not comply  with requirements  of the  Employee

          Retirement  and  Income  Security  Act, 29  U.S.C.      1001-1461

          ("ERISA").  The notice failed to inform Petralia of her  right to

          appeal  the  termination, and  it failed  to  inform her  of what

          additional information  she could  provide to  avoid termination.

          The district  court  determined that  the proper  remedy for  the

          ERISA violations  was to remand the issue of Petralia's continued

          eligibility for short-term benefits to the plan fiduciary.  

                    The district court granted summary judgment in favor of


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          Defendants-Appellees  on  the   issue  of  long-term   disability

          benefits.  Since eligibility for long-term benefits is contingent

          upon  exhaustion  of  short-term  benefits, and  the  Defendants-

          Appellees   terminated   the   Plaintiff-Appellant's   short-term

          benefits before  she exhausted them,  the Plaintiff-Appellant has

          not applied  for, and  the Defendants-Appellees have  not denied,

          long-term benefits.  Plaintiff-Appellant requests that this court

          vacate  the remand  order  of the  district  court, and  use  its

          equitable  powers   to  reinstate  the  Appellant   to  the  plan

          retroactively and  to award past and  future long-term disability

          benefits to the Appellant.



                             II.  Appellate Jurisdiction
                             II.  Appellate Jurisdiction

                    Before we inquire into the merits of a dispute, we must

          address  the  question of  appellate  jurisdiction.   Doughty  v.
                                                                _______

          Underwriters at Lloyd's, London  (In re Wallis), 6 F.3d  856, 860
          _______________________________________________

          (1st  Cir.  1993).     There  is  a  "bedrock   requirement  that

          jurisdiction  can never be assumed  but must be  premised on some

          affirmative source."  Id.  
                                ___

                    Generally, appellate jurisdiction is limited  to review

          of final decisions of the district courts.  28 U.S.C.   1291; see
                                                                        ___

          Massachusetts v. V &amp;  M Management, Inc., 929 F.2d 830,  833 (1st
          _____________    _______________________

          Cir. 1991)(per curiam).

                    A  "collateral order"  may  be immediately  appealable,

          however, if it has certain prescribed  characteristics.  Cohen v.
                                                                   _____

          Beneficial Indus. Loan Corp., 337 U.S. 541, 546 (1949) (immediate
          ____________________________


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          appeal is proper if  the decision of the district  court "appears

          to fall in  that small  class which finally  determine claims  of

          right  separable from, and collateral to,  rights asserted in the

          action,  too important to be denied review and too independent of

          the  cause  itself to  require  that  appellate consideration  be

          deferred until the whole case is adjudicated").  

                    "[A]n order or judgment  is usually considered  'final'

          (hence, appealable)  only when it resolves  the contested matter,

          leaving nothing  to be done except execution  of the judgment.  A

          corollary  rule is  that  an  order  remanding  a  matter  to  an

          administrative agency for further findings and proceedings is not

          final."    Director,  Office  of Workers'  Compensation Programs,
                     ______________________________________________________

          United  States Dep't of Labor v. Bath  Iron Works Corp., 853 F.2d
          _____________________________    ______________________

          11,  13  (1st  Cir.  1988)(quotations,  citations,  and  footnote

          omitted).  

                    We  think  this corollary  rule  applies  to the  order

          remanding this  case  to the  plan  administrators.   See,  e.g.,
                                                                ___   ____

          Shannon v.  Jack Eckerd Corp., 55 F.3d 561, 563 (11th Cir. 1995).
          _______     _________________

          The  district  court  sent the  present  case  back  to the  plan

          administrators to determine "the issue of [Appellant's] continued

          eligibility for  short-term benefits."   Petralia v.  AT&amp;T Global
                                                   ________     ___________

          Info.  Solutions Co., No. 94-533-M  (D.N.H. July 29, 1996) (order
          ____________________

          remanding  case  to plan  administrators).    The district  court

          stated in its  order:   "[The plan] shall  afford Ms. Petralia  a

          full  opportunity  under  the   plan's  terms  to  establish  her

          continued  eligibility for short-term benefits, as of the time of


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          improper termination, which of  course will require an assessment

          of whatever evidence she might present to establish her continued

          eligibility."  Id.  Rather than "leaving nothing to be done," the
                         ___

          district  court  required  further  proceedings  and findings  on
                           ________

          remand.  Applying the standard cited above to the remand order in

          this case,  we conclude that  the order is not  a final judgment.

          Therefore,   28   U.S.C.     1291  does   not   confer  appellate

          jurisdiction over this case.

                    The "collateral order" doctrine  developed in Cohen and
                                                                  _____

          later decisions does not apply in the circumstances of this case.

          That  doctrine is, in essence, "a 'narrow exception to the normal

          application of the final judgment rule,'" prescribed in 28 U.S.C.

            1291.  Doughty, 6 F.3d at 862 (quoting Midland Asphalt Corp. v.
                   _______                 _______ _____________________

          United States, 489 U.S.  794, 798 (1989)).  The  collateral order
          _____________

          doctrine is  "limited to  orders that (1)  conclusively determine

          (2) important  legal questions which are  (3) completely separate

          from  the merits of the underlying action and are (4) effectively

          unreviewable on appeal from  a final judgment."  Doughty,  6 F.3d
                                                           _______

          at 862.  

                    The  issue remanded  to the  plan in  this case  is not
                                                                        ___

          collateral;  Petralia's continued  eligibility for  benefits, the

          issue  remanded  to the  plan, is  the very  heart of  this case.

          Consequently, the issue is  effectively reviewable on appeal from

          a  final judgment,  and  the rationale  of  the collateral  order

          doctrine  does not apply  to this case.   Moreover, the issue has

          not  been conclusively determined below, as required by the first


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          prong  of the collateral order  doctrine.  "[T]o  come within the

          collateral  order rule,  a decree  must definitively  resolve the

          merits of the collateral issue, not merely determine  which court

          will  thereafter resolve it."  Id. at  863.  Because the order of
                                         ___

          the  district  court  did  not  conclusively  determine  a  legal

          question separate from the  merits of the underlying action,  and

          the  issue remains  subject  to review  on  appeal from  a  final

          judgment,  we conclude that the collateral order exception to the

          final judgment rule does not apply to this case.



                       III.  Mandamus or Other Prerogative Writ
                       III.  Mandamus or Other Prerogative Writ

                    The  initial briefs  of  the parties  having failed  to

          address the issue of appellate jurisdiction, the Panel questioned

          counsel about jurisdiction and allowed the filing of Supplemental

          Briefs.   Appellees acknowledged lack of  appellate jurisdiction.

          In her Supplemental Brief, Appellant argues  that in Gillespie v.
                                                               _________

          United States  Steel  Corp.,  379  U.S.  148  (1964),  the  Court
          ___________________________

          recognized  "what might  well be  called the  'twilight zone'  of

          finality," id.  at 152, and asks  us to take jurisdiction  on the
                     ___

          ground   that  otherwise   Rosemary  Petralia  may   be  "forever

          foreclosed" from appellate review of "the proof of her [claim of]

          chronic    fatigue    syndrome."       Supplemental    Brief   of

          Plaintiff/Appellant  at   4.    Although  this   request  in  the

          Supplemental  Brief  was not  in the  form  of a  petition  for a

          prerogative writ, in the  interests of assurance of  fair process

          we address the request as if it were so designated.


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                    A writ of mandamus "must be used stintingly and brought

          to bear only in extraordinary situations." Doughty, supra, 6 F.3d
                                                     _______  _____

          at  865.   To show  grounds for  such extraordinary  relief here,

          Rosemary  Petralia  would be  required  to  demonstrate that  the

          remand  order was palpably erroneous and that she faces a special
                                               ___

          risk  of irreparable harm.  Id.  Plaintiff-Appellant has not made
                                      ___

          this showing since, as noted above, issues regarding her proof of

          her  claim   of  chronic  fatigue  syndrome   remain  effectively

          reviewable  on appeal from a final judgment, after one is ordered

          and entered.  See id. at 866.
                        ___ ___



                 IV.  Retention of Jurisdiction in the District Court
                 IV.  Retention of Jurisdiction in the District Court

                    Ordinarily  implicit  in a  district  court's order  of

          remand to a plan fiduciary  is an understanding that after a  new

          decision by the plan  fiduciary, a party seeking judicial  review

          in  the district court may do so by  a timely motion filed in the

          same civil  action, and is  not required to commence  a new civil

          action.    To avoid  any  misunderstanding  that might  otherwise

          occur, we state that we interpret the order of the district court

          in this case as  having retained jurisdiction, in this  sense, to

          hear and decide any timely motion for judicial review filed after

          further proceedings  before  the  plan fiduciary.    This  is  so

          regardless of whether the  case is formally held open  or instead

          administratively  closed  on the  district  court  docket in  the

          meantime.




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                                    V.  Conclusion
                                    V.  Conclusion

                    Having determined that the remand order of the district

          court is not a final judgment, that the collateral order doctrine

          does not apply to the decision of the district court remanding an

          issue to the plan administrators, and, that a prerogative writ is

          not warranted, we dismiss the appeal for lack of jurisdiction.  

                    So ordered.  Costs are awarded to Appellees.








































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